                                   Case 8:19-bk-00935-RCT                      Doc 1      Filed 02/01/19            Page 1 of 67

Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

Case number (if known)                                                          Chapter you are filing under:

                                                                                Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an amended
                                                                                                                                     filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                        12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Edward                                                           Michelle
     your government-issued          First name                                                       First name
     picture identification (for
     example, your driver's          Scott                                                            Lynn
     license or passport).           Middle name                                                      Middle name
     Bring your picture
     identification to your meeting
                                    Kovach                                                            Kovach
     with the trustee.              Last name and Suffix (Sr., Jr., II, III)                          Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-4090                                                      xxx-xx-5471
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 1
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Debtor 1
Debtor 2   Kovach, Edward Scott & Kovach, Michelle Lynn                                                  Case number (if known)




                                   About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have        I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and       Business name(s)                                               Business name(s)
     doing business as names

                                   EINs                                                           EINs




5.   Where you live                                                                               If Debtor 2 lives at a different address:

                                   1772 Royal Oak Pl W                                            116 San Briso Way
                                   Dunedin, FL 34698-2431                                         Saint Augustine, FL 32092-3116
                                   Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                   Pinellas                                                       St. Johns
                                   County                                                         County

                                   If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                   above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                   notices to you at this mailing address.                        address.



                                   Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing          Check one:
     this district to file for                                                                    Check one:
     bankruptcy                          Over the last 180 days before filing this petition, I
                                                                                                          Over the last 180 days before filing this petition, I have
                                          have lived in this district longer than in any other             lived in this district longer than in any other district.
                                          district.

                                         I have another reason.                                          I have another reason.
                                          Explain. (See 28 U.S.C. § 1408.)                                 Explain. (See 28 U.S.C. § 1408.)

                                                                                                  Spouse lives in district




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 2
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Debtor 1
Debtor 2    Kovach, Edward Scott & Kovach, Michelle Lynn                                                  Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                   Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the last
                                  No.
     8 years?                      Yes.
                                             District                                  When                              Case number
                                             District                                  When                              Case number
                                             District                                  When                              Case number



10. Are any bankruptcy cases
    pending or being filed by
                                  No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                  When                             Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                  When                             Case number, if known



11. Do you rent your               No.        Go to line 12.
    residence?
                                  Yes.        Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                        bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
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Debtor 1
Debtor 2    Kovach, Edward Scott & Kovach, Michelle Lynn                                                      Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.         Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?

     For a definition of small
                                     No.         I am not filing under Chapter 11.

     business debtor, see 11
     U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                      Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                     No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
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Debtor 1
Debtor 2    Kovach, Edward Scott & Kovach, Michelle Lynn                                                  Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
    briefing about credit
                                      Icounseling
                                           received a briefing from an approved credit
                                                      agency within the 180 days before I
                                                                                                      Icounseling
                                                                                                          received a briefing from an approved credit
                                                                                                                     agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                               Incapacity.                                                   Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                               Disability.                                                   Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                               Active duty.                                                  Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 5
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Debtor 1
Debtor 2    Kovach, Edward Scott & Kovach, Michelle Lynn                                                     Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                         incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                              No. Go to line 16b.
                                             Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after
     any exempt property is
                                   Yes.     I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
                                             paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses
     are paid that funds will be
                                             No
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do          1-49                                             1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?                      $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities to                                                     $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be?                             $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Edward Kovach                                                  /s/ Michelle Kovach
                                   Edward Scott Kovach                                                Michelle Lynn Kovach
                                   Signature of Debtor 1                                              Signature of Debtor 2

                                   Executed on      January 30, 2019                                  Executed on      January 30, 2019
                                                    MM / DD / YYYY                                                     MM / DD / YYYY




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
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Debtor 1
Debtor 2   Kovach, Edward Scott & Kovach, Michelle Lynn                                                        Case number (if known)




For your attorney, if you are     I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one                Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                  person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by     which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need      petition is incorrect.
to file this page.
                                  /s/ Leonard Poe                                                       Date         January 30, 2019
                                  Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                  Leonard Poe
                                  Printed name

                                  Attorney at Law
                                  Firm name


                                  1101 Broadway
                                  Dunedin, FL 34698-5775
                                  Number, Street, City, State & ZIP Code

                                  Contact phone    (828) 301-8471                                 Email address         leonardpoe@gmail.com
                                  373273 Florida
                                  Bar number & State




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
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              Fill in this information to identify your case:

 Debtor 1                   Edward Scott Kovach
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Michelle Lynn Kovach
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              82,506.50

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $              82,506.50

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $                8,353.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $              47,652.25


                                                                                                                                     Your total liabilities $                    56,005.25


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                5,051.47

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                5,048.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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                               Case 8:19-bk-00935-RCT                     Doc 1         Filed 02/01/19           Page 9 of 67
 Debtor 1     Kovach, Edward Scott & Kovach, Michelle
 Debtor 2     Lynn                                                                           Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                           $   5,051.47


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                    $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $              0.00

       9d. Student loans. (Copy line 6f.)                                                                  $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$              0.00


       9g. Total. Add lines 9a through 9f.                                                            $                 0.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information             page 2 of 2
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                                Case 8:19-bk-00935-RCT                             Doc 1      Filed 02/01/19        Page 10 of 67
             Fill in this information to identify your case and this filing:

 Debtor 1                 Edward Scott Kovach
                          First Name                        Middle Name                    Last Name

 Debtor 2                 Michelle Lynn Kovach
 (Spouse, if filing)      First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the:          MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number                                                                                                                                     Check if this is an
                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   No. Go to Part 2.
    Yes.      Where is the property?


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1      Make:       Buick                                  Who has an interest in the property? Check one       Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured claims on Schedule D:
           Model:      Enclave FWD                             Debtor 1 only                                      Creditors Who Have Claims Secured by Property .
           Year:       2010                                    Debtor 2 only                                      Current value of the      Current value of the
           Approximate mileage:             170000            Debtor 1 and Debtor 2 only                          entire property?          portion you own?
           Other information:                                  At least one of the debtors and another
          VIN#5GALRBED3AJ102982
          Needs transmission                                   Check if this is community property                         $3,000.00                    $3,000.00
                                                                  (see instructions)



  3.2      Make:       Ford                                   Who has an interest in the property? Check one       Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured claims on Schedule D:
           Model:      Expedition 2WD                          Debtor 1 only                                      Creditors Who Have Claims Secured by Property .
           Year:       2003                                    Debtor 2 only                                      Current value of the      Current value of the
           Approximate mileage:             170000            Debtor 1 and Debtor 2 only                          entire property?          portion you own?
           Other information:                                  At least one of the debtors and another
          VIN#1FMFU17L43LA58809
                                                               Check if this is community property                         $1,121.00                    $1,121.00
                                                                  (see instructions)




Official Form 106A/B                                                      Schedule A/B: Property                                                                page 1
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                              Case 8:19-bk-00935-RCT                            Doc 1       Filed 02/01/19              Page 11 of 67
 Debtor 1
 Debtor 2         Kovach, Edward Scott & Kovach, Michelle Lynn                                                 Case number (if known)


  3.3    Make:      Acura                                   Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:     TSX                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:      2012                                     Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:               115000          Debtor 1 and Debtor 2 only                                entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
        In son's possession
        VIN# JH4CU2F65CC002516                               Check if this is community property                                $6,982.00                 $6,982.00
                                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                $11,103.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   microwave and assorted small kitchen appliances, cutlery and
                                   cooking ware                                                                                                                 $95.00

                                   sofa, 2 chairs, recliner, 2 book cases, dining table and 4 chairs, 2
                                   beds, 4 dressers, 4 nightstands, curio cabinet                                                                              $655.00

                                   sports equipment                                                                                                             $30.00

                                   tools                                                                                                                        $15.00

                                   lawn furniture                                                                                                               $30.00

                                   Books and pictures                                                                                                           $30.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.     Describe.....
                                   2 TVs, 2 DVD players, VCR, Sony Playstation w/video games,
                                   Samsung stereo, Mac computer, Dell Computer                                                                                 $430.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
    Yes.     Describe.....
                                   records and dvds and cds                                                                                                     $40.00



Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 2
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 Debtor 1
 Debtor 2          Kovach, Edward Scott & Kovach, Michelle Lynn                                                                      Case number (if known)

                                            baseball cards                                                                                                                    $50.00

                                            4 mirrors                                                                                                                       $100.00

                                            wedding rings, earrings, necklaces, watches                                                                                   $1,220.00


9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
    Yes.        Describe.....
                                            2 Schwin bikes                                                                                                                    $50.00

                                            Nikon camera                                                                                                                      $25.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.       Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            clothes                                                                                                                         $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes.        Describe.....
                                            costume jewelry                                                                                                                   $40.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                                     $3,010.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                                        cash on hand                        $100.00




Official Form 106A/B                                                                     Schedule A/B: Property                                                                 page 3
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 Debtor 1
 Debtor 2        Kovach, Edward Scott & Kovach, Michelle Lynn                                                  Case number (if known)

17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:

                                                Other Financial
                                       17.1.    Account                      Bank of America                                                           $625.00



                                       17.2.    Checking Account             CFE                                                                       $683.66



                                       17.3.    Savings Account              CFE                                                                       $615.40


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                    Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                            % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                         Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                       Type of account:                      Institution name:
                                       IRA                                   USAA                                                                  $1,018.40


22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                             Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
   Yes.............      Issuer name and description.
                                   Motorola pension                                                                                              $46,658.04


24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
    Yes.............     Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
                                   Florida prepaid college plan for daughter                                                                     $18,363.00


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
Official Form 106A/B                                                  Schedule A/B: Property                                                             page 4
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 Debtor 1
 Debtor 2        Kovach, Edward Scott & Kovach, Michelle Lynn                                                               Case number (if known)

     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                                            Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                               Surrender or refund
                                                                                                                                                            value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................          $68,063.50


Official Form 106A/B                                                        Schedule A/B: Property                                                                           page 5
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                                 Case 8:19-bk-00935-RCT                                Doc 1           Filed 02/01/19                  Page 15 of 67
 Debtor 1
 Debtor 2        Kovach, Edward Scott & Kovach, Michelle Lynn                                                               Case number (if known)

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
   Yes.     Go to line 38.


                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

38. Accounts receivable or commissions you already earned
    No
     Yes.     Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    No
    Yes.      Describe.....

                                      hair salon supplies                                                                                                                $230.00


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
    No
     Yes.     Describe.....


41. Inventory
    No
     Yes.     Describe.....


42. Interests in partnerships or joint ventures
    No
     Yes.     Give specific information about them...................
                                      Name of entity:                                                                         % of ownership:


43. Customer lists, mailing lists, or other compilations
   No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

              No
               Yes.     Describe.....


44. Any business-related property you did not already list
    No
     Yes. Give specific information.........


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached for
     Part 5. Write that number here.....................................................................................................................              $230.00

 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.    Go to line 47.

Official Form 106A/B                                                        Schedule A/B: Property                                                                           page 6
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 Debtor 1
 Debtor 2         Kovach, Edward Scott & Kovach, Michelle Lynn                                                                          Case number (if known)



 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $0.00
 56. Part 2: Total vehicles, line 5                                                                           $11,103.00
 57. Part 3: Total personal and household items, line 15                                                       $3,010.00
 58. Part 4: Total financial assets, line 36                                                                  $68,063.50
 59. Part 5: Total business-related property, line 45                                                            $230.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $82,406.50              Copy personal property total     $82,406.50

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $82,406.50




Official Form 106A/B                                                               Schedule A/B: Property                                                                    page 7
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                               Case 8:19-bk-00935-RCT                          Doc 1           Filed 02/01/19             Page 17 of 67
              Fill in this information to identify your case:

 Debtor 1                 Edward Scott Kovach
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 1 Exemptions
   Buick                                                                                                                          Fla. Stat. § 222.25(1)
   Enclave FWD
                                                                      $3,000.00                                    $1,000.00
   2010                                                                                      100% of fair market value, up to
   170000                                                                                     any applicable statutory limit
      Line from Schedule A/B: 3.1

      Buick                                                                                                                       Fla. Stat. § 222.25(4)
      Enclave FWD
                                                                      $3,000.00                                      $500.00
      2010                                                                                   100% of fair market value, up to
      170000                                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.1

      Ford                                                                                                                        Fla. Stat. § 222.25(4)
      Expedition 2WD
                                                                      $1,121.00                                      $560.50
      2003                                                                                   100% of fair market value, up to
      170000                                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.2

      sofa, 2 chairs, recliner, 2 book                                                                                            Fla. Stat. § 222.25(4)
      cases, dining table and 4 chairs, 2
                                                                          $655.00                                    $655.00
      beds, 4 dressers, 4 nightstands,                                                       100% of fair market value, up to
      curio cabinet                                                                           any applicable statutory limit
      Line from Schedule A/B: 6.2




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 6
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     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     sports equipment                                                                                                       Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 6.3
                                                                       $30.00                                   $15.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     lawn furniture                                                                                                         Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 6.5
                                                                       $30.00                                   $15.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     2 TVs, 2 DVD players, VCR, Sony                                                                                        Fla. Stat. § 222.25(4)
     Playstation w/video games,
                                                                      $430.00                                  $215.00
     Samsung stereo, Mac computer,                                                     100% of fair market value, up to
     Dell Computer                                                                      any applicable statutory limit
     Line from Schedule A/B: 7.1

     baseball cards                                                                                                         Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 8.2
                                                                       $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     4 mirrors                                                                                                              Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 8.3
                                                                      $100.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     wedding rings, earrings, necklaces,                                                                                    Fla. Stat. § 222.25(4)
     watches
                                                                   $1,220.00                                   $610.00
     Line from Schedule A/B: 8.4                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     2 Schwin bikes                                                                                                         Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 9.1
                                                                       $50.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Nikon camera                                                                                                           Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 9.2
                                                                       $25.00                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     clothes                                                                                                                Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 11.1
                                                                      $200.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     cash on hand                                                                                                           Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 16.1
                                                                      $100.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Bank of America                                                                                                        Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 17.1
                                                                      $625.00                                  $625.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 2 of 6
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     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     USAA                                                                                                                   Fla. Stat. § 222.21(2)
     Line from Schedule A/B: 21.1
                                                                   $1,018.40                                 $1,018.40
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Motorola pension                                                                                                       Fla. Stat. § 222.201
     Line from Schedule A/B: 23.1
                                                                  $46,658.04                               $46,658.04
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Florida prepaid college plan for                                                                                       Fla. Stat. § 222.22
     daughter
                                                                  $18,363.00                               $18,363.00
     Line from Schedule A/B: 24.1                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 3 of 6
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 Fill in this information to identify your case:

 Debtor 1
                         First Name                         Middle Name                     Last Name

 Debtor 2                Michelle Lynn Kovach
 (Spouse if, filing)     First Name                         Middle Name                     Last Name


 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 2 Exemptions
   Buick                                                                                                                          Fla. Stat. § 222.25(1)
   Enclave FWD
                                                                      $3,000.00                                    $1,000.00
   2010                                                                                      100% of fair market value, up to
   170000                                                                                     any applicable statutory limit
      Line from Schedule A/B: 3.1

      Buick                                                                                                                       Fla. Stat. § 222.25(4)
      Enclave FWD
                                                                      $3,000.00                                      $500.00
      2010                                                                                   100% of fair market value, up to
      170000                                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.1

      Ford                                                                                                                        Fla. Stat. § 222.25(4)
      Expedition 2WD
                                                                      $1,121.00                                      $560.50
      2003                                                                                   100% of fair market value, up to
      170000                                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.2

      microwave and assorted small                                                                                                Fla. Stat. § 222.25(4)
      kitchen appliances, cutlery and
                                                                          $95.00                                      $95.00
      cooking ware                                                                           100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                             any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 4 of 6
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     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B
     sports equipment                                                                                                       Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 6.3
                                                                       $30.00                                   $15.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     tools                                                                                                                  Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 6.4
                                                                       $15.00                                   $15.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     lawn furniture                                                                                                         Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 6.5
                                                                       $30.00                                   $15.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Books and pictures                                                                                                     Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 6.6
                                                                       $30.00                                   $30.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     2 TVs, 2 DVD players, VCR, Sony                                                                                        Fla. Stat. § 222.25(4)
     Playstation w/video games,
                                                                      $430.00                                  $215.00
     Samsung stereo, Mac computer,                                                     100% of fair market value, up to
     Dell Computer                                                                      any applicable statutory limit
     Line from Schedule A/B: 7.1

     records and dvds and cds                                                                                               Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 8.1
                                                                       $40.00                                   $40.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     wedding rings, earrings, necklaces,                                                                                    Fla. Stat. § 222.25(4)
     watches
                                                                   $1,220.00                                   $610.00
     Line from Schedule A/B: 8.4                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     2 Schwin bikes                                                                                                         Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 9.1
                                                                       $50.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Nikon camera                                                                                                           Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 9.2
                                                                       $25.00                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     clothes                                                                                                                Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 11.1
                                                                      $200.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     costume jewelry                                                                                                        Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 12.1
                                                                       $40.00                                   $40.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     cash on hand                                                                                                           Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 16.1
                                                                      $100.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 5 of 6
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     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B
     CFE                                                                                                                    Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 17.2
                                                                      $683.66                                  $683.66
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     CFE                                                                                                                    Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 17.3
                                                                      $615.40                                  $615.40
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     hair salon supplies                                                                                                    Fla. Stat. § 222.25(4)
     Line from Schedule A/B: 39.1
                                                                      $230.00                                  $230.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 6 of 6
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                                 Case 8:19-bk-00935-RCT                           Doc 1          Filed 02/01/19              Page 23 of 67
              Fill in this information to identify your case:

 Debtor 1                   Edward Scott Kovach
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Michelle Lynn Kovach
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Ally                                     Describe the property that secures the claim:                  $8,353.00                 $6,982.00           $1,371.00
         Creditor's Name
                                                  2012 Acura TSX
                                                  In son's possession VIN#
                                                  JH4CU2F65CC002516
         PO Box 380902                            As of the date you file, the claim is: Check all that
         Bloomington, MN                          apply.
         55438-0902                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        6018


 Add the dollar value of your entries in Column A on this page. Write that number here:                                  $8,353.00
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                                 $8,353.00

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 1
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      Fill in this information to identify your case:

 Debtor 1                  Edward Scott Kovach
                           First Name                       Middle Name                          Last Name

 Debtor 2                  Michelle Lynn Kovach
 (Spouse if, filing)       First Name                       Middle Name                          Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
        Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1          American Express Centurion Bank                        Last 4 digits of account number                                                                  $16,717.21
              Nonpriority Creditor's Name
                                                                     When was the debt incurred?
              4315 S 2700 W
              Salt Lake City, UT 84184-0001
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
               Debtor 2 only                                         Unliquidated
               Debtor 1 and Debtor 2 only                            Disputed
               At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                Student loans
              debt                                                    Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                  Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 11
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 Debtor 1
 Debtor 2 Kovach, Edward Scott & Kovach, Michelle Lynn                                              Case number (if known)

 4.2      Andigo Credit Union                                   Last 4 digits of account number                                                   $19,416.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          1501 E Woodfield Rd Ste 400W
          Schaumburg, IL 60173-5419
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.3      AT&T                                                  Last 4 digits of account number       3225                                          $614.45
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 537104
          Atlanta, GA 30353-7104
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.4      Baptist Primary Care                                  Last 4 digits of account number       3780                                           $90.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 44004
          Jacksonville, FL 32231-4004
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 11
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 Debtor 1
 Debtor 2 Kovach, Edward Scott & Kovach, Michelle Lynn                                              Case number (if known)

 4.5      Barclays Card Services                                Last 4 digits of account number       0545                                         $611.10
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 8802
          Wilmington, DE 19899-8802
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.6      Bartram Dental Center                                 Last 4 digits of account number       8283                                          $62.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          130 Gateway Cir
          Jacksonville, FL 32259-4003
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.7      Baycare                                               Last 4 digits of account number                                                    $317.09
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 31696
          Tampa, FL 33631-3696
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 11
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 Debtor 1
 Debtor 2 Kovach, Edward Scott & Kovach, Michelle Lynn                                              Case number (if known)

 4.8      Bright House Networks                                 Last 4 digits of account number       2203                                          $87.50
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 9037
          Addison, TX 75001-9037
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.9      Chase                                                 Last 4 digits of account number       6025                                         $995.75
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.10     Chase Bank                                            Last 4 digits of account number       6493                                        $4,041.68
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 15548
          Wilmington, DE 19886-5548
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 11
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 Debtor 1
 Debtor 2 Kovach, Edward Scott & Kovach, Michelle Lynn                                              Case number (if known)

 4.11     Cigna                                                 Last 4 digits of account number       6470                                        unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 30028
          Tampa, FL 33630-3028
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.12     Duke Energy                                           Last 4 digits of account number       5146                                         $454.26
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 14042
          Saint Petersburg, FL 33733
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.13     Emergency Resources Group                             Last 4 digits of account number       3831                                         $649.38
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 11349
          Daytona Beach, FL 32120-1349
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                       Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 11
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 Debtor 1
 Debtor 2 Kovach, Edward Scott & Kovach, Michelle Lynn                                              Case number (if known)

 4.14     First City Hospitalists Group                         Last 4 digits of account number                                                     $68.72
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 860069
          Saint Augustine, FL 32086
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                       Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.15     Flagler Hospital                                      Last 4 digits of account number       5886                                          $30.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          400 Health Park Blvd
          Saint Augustine, FL 32086-5784
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.16     Flagler Hospital                                      Last 4 digits of account number       6636                                        $2,597.20
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          400 Health Park Blvd
          Saint Augustine, FL 32086-5784
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                       Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 Debtor 2 Kovach, Edward Scott & Kovach, Michelle Lynn                                              Case number (if known)

 4.17     Florida Power & Light                                 Last 4 digits of account number                                                    $286.55
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          1 General Mail Facility
          Miami, FL 33101-0001
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.18     Gastroenterology Associates                           Last 4 digits of account number       6662                                          $37.51
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          216 Southpark Cir E
          Saint Augustine, FL 32086-5135
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                       Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.19     Pantaleon Pathology Associates                        Last 4 digits of account number       6397                                          $40.05
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 3123
          Saint Augustine, FL 32085-3123
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                       Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 Debtor 1
 Debtor 2 Kovach, Edward Scott & Kovach, Michelle Lynn                                              Case number (if known)

 4.20      Quest Diagnostics                                    Last 4 digits of account number       6545                                                     $30.00
           Nonpriority Creditor's Name
                                                                When was the debt incurred?
           PO Box 7306
           Hollister, MO 65673-7306
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                       Contingent
            Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
            At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community              Student loans
           debt                                                  Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                      report as priority claims

           No                                                   Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                Other. Specify

           Reemployment Assistance
 4.21      Program                                              Last 4 digits of account number       4090                                                    $335.50
           Nonpriority Creditor's Name
                                                                When was the debt incurred?
           PO Box 5150
           Tallahassee, FL 32314-5150
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
            Debtor 2 only                                       Unliquidated
            Debtor 1 and Debtor 2 only                          Disputed
            At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community              Student loans
           debt                                                  Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                      report as priority claims

           No                                                   Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                Other. Specify

 4.22      Xfinity                                              Last 4 digits of account number       2386                                                    $170.30
           Nonpriority Creditor's Name
                                                                When was the debt incurred?
           141 NW 16th St
           Pompano Beach, FL 33060-5250
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                       Contingent
           Debtor 2 only                                        Unliquidated
            Debtor 1 and Debtor 2 only                          Disputed
            At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community              Student loans
           debt                                                  Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                      report as priority claims

           No                                                   Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                Other. Specify

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you


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 Debtor 2 Kovach, Edward Scott & Kovach, Michelle Lynn                                               Case number (if known)

   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Allied Interstate                                          Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 361445                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43236-1445
                                                            Last 4 digits of account number                6493
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 AR Resources                                               Line 4.13 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 1056                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Blue Bell, PA 19422-0287
                                                            Last 4 digits of account number                3831
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 ARS National Services                                      Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 463023                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Escondido, CA 92046-3023
                                                            Last 4 digits of account number                6493
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 BCA Financial Services                                     Line 4.16 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 18001 Old Cutler Rd Ste 462                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Miami, FL 33157-6437
                                                            Last 4 digits of account number                6636
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Bull City Financial Solutions                              Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 2609 N Duke St Ste 500                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Durham, NC 27704-0015
                                                            Last 4 digits of account number                5146
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Client Services Incorporated                               Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 3451 Harry S Truman Blvd                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Charles, MO 63301-4047
                                                            Last 4 digits of account number                6493
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Protection Associates                               Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 802068                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Dallas, TX 75380-2068
                                                            Last 4 digits of account number                2203
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Franklin Collection Service                                Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 3910                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Tupelo, MS 38803-3910
                                                            Last 4 digits of account number                3225
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Helvey & Associates                                        Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 1015 E Center St                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Warsaw, IN 46580-3420
                                                            Last 4 digits of account number                5146
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 I.C. System                                                Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 64437                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Paul, MN 55164-0437
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 L..J. Ross Associates                                      Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 6099                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Jackson, MI 49204-6099
                                                            Last 4 digits of account number


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 Debtor 2 Kovach, Edward Scott & Kovach, Michelle Lynn                                                    Case number (if known)

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 LTD Financial Service                                       Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 7322 Southwest Fwy Ste 1600                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77074-2134
                                                             Last 4 digits of account number                      6493
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 MBA Law                                                     Line 4.16 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 3400 Texoma Pkwy Ste 100                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Sherman, TX 75090-1916
                                                             Last 4 digits of account number                      6636
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Mease Dunedin Hospital                                      Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 Processing Center                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 22608
 Tampa, FL 33622-2608
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 MRS Associates                                              Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 1930 Olney Ave                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Cherry Hill, NJ 08003-2016
                                                             Last 4 digits of account number                      6493
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Paul Brertner, Esq,                                         Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 The Barthet Firm                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 200 S Biscayne Blvd Ste 1800
 Miami, FL 33131-5336
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Southwest Credit                                            Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 4120 International Pkwy Ste 1100                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Carrollton, TX 75007-1958
                                                             Last 4 digits of account number                      3225
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 United Collection Bureau                                    Line 4.21 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 4100 Horizons Dr Ste 101                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43220-5283
                                                             Last 4 digits of account number                      4090
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Zwicker & Associates, PC                                    Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 10751 Deerwood Park Blvd Ste 100                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Jacksonville, FL 32256-4835
                                                             Last 4 digits of account number


 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.      $                         0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.      $                         0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.      $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.      $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.      $                         0.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.      $                         0.00
 Total claims

Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 10 of 11
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 Debtor 2 Kovach, Edward Scott & Kovach, Michelle Lynn                                               Case number (if known)

  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.     $                   0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.     $                   0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                            $              47,652.25

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.     $              47,652.25




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 11 of 11
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              Fill in this information to identify your case:

 Debtor 1                 Edward Scott Kovach
                          First Name                         Middle Name           Last Name

 Debtor 2                 Michelle Lynn Kovach
 (Spouse if, filing)      First Name                         Middle Name           Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


           Person or company with whom you have the contract or lease                State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Nataly & Robert Monk                                                      Annual residential lease




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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              Fill in this information to identify your case:

 Debtor 1                   Edward Scott Kovach
                            First Name                           Middle Name           Last Name

 Debtor 2                   Michelle Lynn Kovach
 (Spouse if, filing)        First Name                           Middle Name           Last Name


 United States Bankruptcy Court for the:                 MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                         ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                         ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                     Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Edward Scott Kovach

Debtor 2                      Michelle Lynn Kovach
(Spouse, if filing)

United States Bankruptcy Court for the:       MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

Case number                                                                                                Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name         Lowes

       Occupation may include student or Employer's address
       homemaker, if it applies.


                                             How long employed there?           2 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $        2,782.29       $               0.00

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00     +$              0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      2,782.29             $        0.00




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
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Debtor 1
Debtor 2    Kovach, Edward Scott & Kovach, Michelle Lynn                                            Case number (if known)



                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
      Copy line 4 here                                                                      4.          $      2,782.29         $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $               0.00
      5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $               0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $               0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $               0.00
      5e.    Insurance                                                                       5e.        $              0.00     $               0.00
      5f.    Domestic support obligations                                                    5f.        $              0.00     $               0.00
      5g.    Union dues                                                                      5g.        $              0.00     $               0.00
      5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00     $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          2,782.29         $               0.00
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00     $               0.00
      8b. Interest and dividends                                                             8b.        $              0.00     $               0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00     $               0.00
      8d. Unemployment compensation                                                          8d.        $              0.00     $               0.00
      8e.    Social Security                                                                 8e.        $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $              0.00
      8g. Pension or retirement income                                                       8g. $                     0.00   $              0.00
      8h. Other monthly income. Specify: Hairdresser                                         8h.+ $                    0.00 + $          2,269.18

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00     $         2,269.18

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            2,782.29 + $        2,269.18 = $           5,051.47
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.      +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.         $          5,051.47
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                          page 2
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Fill in this information to identify your case:

Debtor 1               Edward Scott Kovach                                                                   Check if this is:
                                                                                                              An amended filing
Debtor 2               Michelle Lynn Kovach                                                                   A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF FLORIDA, TAMPA                                          MM / DD / YYYY
                                          DIVISION

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
      Yes. Does Debtor 2 live in a separate household?
                 No
                Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s      Does dependent
                                                                                                                                        live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            Daughter                             16              Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                              0.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                            0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                            0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                            0.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                            0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                            0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1
Debtor 2     Kovach, Edward Scott & Kovach, Michelle Lynn                                              Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                                0.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                 0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                0.00
      6d. Other. Specify: cell phone                                                           6d. $                                               235.00
7.    Food and housekeeping supplies                                                             7. $                                              100.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                               50.00
10.   Personal care products and services                                                      10. $                                                 0.00
11.   Medical and dental expenses                                                              11. $                                               180.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                                50.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               300.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                 0.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               410.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               434.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                 0.00
      17c. Other. Specify:                                                                    17c. $                                                 0.00
      17d. Other. Specify:                                                                    17d. $                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       1,759.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $                       3,289.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       5,048.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               5,051.47
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              5,048.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    3.47

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Debtor 1
Debtor 2      Kovach, Edward Scott & Kovach, Michelle Lynn                                           Case number (if known)


Fill in this information to identify your case:

Debtor 1              Edward Scott Kovach                                                               Check if this is:
                                                                                                         An amended filing
Debtor 2              Michelle Lynn Kovach                                                               A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                         expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF FLORIDA, TAMPA                                  MM / DD / YYYY
                                          DIVISION

Case number
(If known)



Official Form 106J-2
Schedule J-2: Your Expenses for Separate Household of Debtor 2                                                                                        12/15
Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this
form only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space
is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

Part 1:       Describe Your Household

1.    Do you and Debtor 1 maintain separate households?
           No. Do not complete this form.
       Yes
2.    Do you have dependents?              No
      Do not list Debtor 1 but
      list all other dependents
                                          Yes.
      of Debtor 2 regardless
      of whether listed as a
      dependent of Debtor 1                        Fill out this information for    Dependent’
                                                                                             s relationship to       Dependent’
                                                                                                                              s      Does dependent
      on Schedule J.                               each dependent................   Debtor 2                         age             live with you?

      Do not state the                                                                                                                No
      dependents names.
                                                                                    Daughter                         16              Yes
      .                                                                                                                               No
                                                                                                                                      Yes
      .                                                                                                                               No
                                                                                                                                      Yes
      .                                                                                                                               No
                                                                                                                                      Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:   Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                            Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                       1,650.00

      If not included in line 4:

      4a.     Real estate taxes                                                                            4a. $                             0.00
      4b.     Property, homeowner’
                                 s, or renter’
                                             s insurance                                                   4b. $                             0.00
      4c.     Home maintenance, repair, and upkeep expenses                                                4c. $                             0.00

Official Form 106J                                                   Schedule J: Your Expenses                                                        page 3
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Debtor 1
Debtor 2     Kovach, Edward Scott & Kovach, Michelle Lynn                                              Case number (if known)

      4d. Homeowner’   s association or condominium dues                                                     4d. $                                    0.00
5.    Additional mortgage payments for your residence, such as home equity loans                              5. $                                    0.00

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                               80.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                50.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              150.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              700.00
8.    Childcare and children’     s education costs                                              8. $                                               50.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              200.00
10.   Personal care products and services                                                      10. $                                                70.00
11.   Medical and dental expenses                                                              11. $                                                80.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               250.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                 0.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                  0.00
      15b. Health insurance                                                                   15b. $                                                  0.00
      15c. Vehicle insurance                                                                  15c. $                                                  0.00
      15d. Other insurance. Specify:                                                          15d. $                                                  0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
      17c. Other. Specify:                                                                    17c. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  9.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Your monthly expenses. Add lines 5 through 21.                                                                   $                        3,289.00
    The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to
    calculate the total expenses for Debtor 1 and Debtor 2.

23. Line not used on this form.
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 4
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      Fill in this information to identify your case:

Debtor 1                    Edward Scott Kovach
                            First Name             Middle Name             Last Name

Debtor 2                    Michelle Lynn Kovach
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:      MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

Case number
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Edward Kovach                                                 X   /s/ Michelle Kovach
             Edward Scott Kovach                                               Michelle Lynn Kovach
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       January 30, 2019                                       Date    January 30, 2019
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            Fill in this information to identify your case:

 Debtor 1                 Edward Scott Kovach
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Michelle Lynn Kovach
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1 lived      Debtor 2 Prior Address:                                Dates Debtor 2
                                                                there                                                                            lived there
        499 Medio Dr                                            From-To:                  Same as Debtor 1                                       Same as Debtor 1
        Saint Augustine, FL 32095-6721                          9/15-10/16                                                                       From-To:
                                                                                                                                                 9/15-10/17

        233 Adelanto Ave                                        From-To:                  Same as Debtor 1                                       Same as Debtor 1
        Saint Augustine, FL 32092-3113                          never there                                                                      From-To:
                                                                                                                                                 9/17-9/18


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                 Debtor 1                                                        Debtor 2
                                                 Sources of income                 Gross income                  Sources of income               Gross income
                                                 Check all that apply.             (before deductions and        Check all that apply.           (before deductions
                                                                                   exclusions)                                                   and exclusions)
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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 Debtor 1
 Debtor 2     Kovach, Edward Scott & Kovach, Michelle Lynn                                                Case number (if known)


                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income                  Sources of income             Gross income
                                                  Check all that apply.            (before deductions and        Check all that apply.         (before deductions
                                                                                   exclusions)                                                 and exclusions)

 From January 1 of current year until             Wages, commissions,                          $2,782.29         Wages, commissions,                 $4,000.00
 the date you filed for bankruptcy:                                                                              bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                         Operating a business
 For last calendar year:                          Wages, commissions,                        $28,459.75          Wages, commissions,                $36,623.22
 (January 1 to December 31, 2018 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                         Operating a business
 For the calendar year before that:               Wages, commissions,                        $24,198.60          Wages, commissions,                $10,400.00
 (January 1 to December 31, 2017 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                         Operating a business

5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income from             Sources of income             Gross income
                                                  Describe below.                  each source                   Describe below.               (before deductions
                                                                                   (before deductions and                                      and exclusions)
                                                                                   exclusions)
 For the calendar year before that:               IRA distribution                            $13,531.00
 (January 1 to December 31, 2017 )


 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.         Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2

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 Debtor 1
 Debtor 2     Kovach, Edward Scott & Kovach, Michelle Lynn                                                Case number (if known)


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                            Nature of the case           Court or agency                          Status of the case
       Case number
       Andigo Credit Union v. Edward                         collection                   7th Circuit Court, St. Johns                Pending
       and Michelle Kovach                                                                County Flor                                 On appeal
       2017-CA 1384                                                                                                                 Concluded

       American Express v. Edward S.                         collection                   18th Circuit, Seminole                      Pending
       Kovach                                                                             County Florida                              On appeal
       2012-CA-004041                                                                                                               Concluded

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                             Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                             Describe the action the creditor took                          Date action was                 Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes




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 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave               Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                    Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                     Date of your      Value of property
       how the loss occurred                                                                                                 loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or         Amount of
       Address                                                        transferred                                            transfer was             payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       Leonard Poe                                                    Chapter 7 bankrtuptcy                                  1/14/19                 $1,600.00
       1101 Broadway
       Dunedin, FL 34698-5775
       Edward A. Kavach, father


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or         Amount of
       Address                                                        transferred                                            transfer was             payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include




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      gifts and transfers that you have already listed on this statement.
       No
           Yes. Fill in the details.
       Person Who Received Transfer                                 Description and value of                   Describe any property or     Date transfer was
       Address                                                      property transferred                       payments received or debts   made
                                                                                                               paid in exchange
       Person's relationship to you
       Wyndam Vacation Resorts, Inc.                                1/5 Timeshare interest                     deed in lieu of              12/11/18
       6277 Sea Harbor Dr                                                                                      foreclosure
       Orlando, FL 32821-8043

       None


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                       Date Transfer was
                                                                                                                                            made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
       Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was     Last balance before
       Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,         closing or transfer
       Code)                                                                                                           moved, or
                                                                                                                       transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to it?             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                       have it?
                                                                    and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or had access             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)           to it?                                                                     have it?
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                 Where is the property?                 Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                    Code)




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 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
       Case Title                                                  Court or agency                            Nature of the case                    Status of the
       Case Number                                                 Name                                                                             case
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                         Describe the nature of the business                   Employer Identification number
       Address                                                                                                     Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                                   Dates business existed
       Blossom Salon and Boutique                            hairdresser renting chair space                       EIN:        none
       315 W Town Pl Ste 2
       Saint Augustine, FL 32092-3105                        none                                                  From-To     October 6, 2018 - present




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        Business Name                                         Describe the nature of the business              Employer Identification number
        Address                                                                                                Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                               Dates business existed
        Kamran's Hair Concepts                                hairdresser renting chair space                  EIN:         none
        1150 Douglas Ave
        Altamonte Springs, FL 32714-2098                      none                                             From-To      2016-present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                  Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Edward Kovach                                                     /s/ Michelle Kovach
 Edward Scott Kovach                                                   Michelle Lynn Kovach
 Signature of Debtor 1                                                 Signature of Debtor 2

 Date      January 30, 2019                                            Date      January 30, 2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7

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              Fill in this information to identify your case:

 Debtor 1                     Edward Scott Kovach
                              First Name                    Middle Name                Last Name

 Debtor 2                     Michelle Lynn Kovach
 (Spouse if, filing)          First Name                    Middle Name                Last Name


 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
creditors have claims secured by your property, or
you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?



    Creditor's         Ally                                                Surrender the property.                                 No
    name:                                                                  Retain the property and redeem it.
    Description of
                                                                          Retain the property and enter into a Reaffirmation        Yes
                          2012 Acura TSX                                    Agreement.
    property                                                               Retain the property and [explain]:
    securing debt:

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                               Will the lease be assumed?

 Lessor's name:                   Nataly & Robert Monk                                                                             No

                                                                                                                                 Yes
 Description of leased            Annual residential lease
 Property:



 Part 3:        Sign Below

Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                            page 1

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 Debtor 1
 Debtor 2     Kovach, Edward Scott & Kovach, Michelle Lynn                                          Case number (if known)



Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Edward Kovach                                                          X /s/ Michelle Kovach
       Edward Scott Kovach                                                            Michelle Lynn Kovach
       Signature of Debtor 1                                                          Signature of Debtor 2

       Date        January 30, 2019                                               Date     January 30, 2019




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                           page 2

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B2030 (Form 2030) (12/15)
                                                                United States Bankruptcy Court
                                                            Middle District of Florida, Tampa Division
 In re       Kovach, Edward Scott & Kovach, Michelle Lynn                                                       Case No.
                                                                                    Debtor(s)                   Chapter    7

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $                  1,600.00
             Prior to the filing of this statement I have received                                          $                  1,600.00
             Balance Due                                                                                    $                      0.00

2.     The source of the compensation paid to me was:
              Debtor                  Other (specify):         gift from father

3.     The source of compensation to be paid to me is:
                   Debtor         Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Fee includes court filing fee, credit briefing, and financial management

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 30, 2019                                                               /s/ Leonard Poe
     Date                                                                           Leonard Poe
                                                                                    Signature of Attorney
                                                                                    Attorney at Law

                                                                                    1101 Broadway
                                                                                    Dunedin, FL 34698-5775
                                                                                    (828) 301-8471
                                                                                    leonardpoe@gmail.com
                                                                                    Name of law firm




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                                                                                                               United States Bankruptcy Court
                                                                                                           Middle District of Florida, Tampa Division

                                                                   IN RE:                                                                                  Case No.
                                                                   Kovach, Edward Scott & Kovach, Michelle Lynn                                            Chapter 7
                                                                                                          Debtor(s)

                                                                                                          VERIFICATION OF CREDITOR MATRIX
                                                                   The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                   Date: January 30, 2019                 Signature: /s/ Edward Kovach
                                                                                                                      Edward Kovach                                                            Debtor



                                                                   Date: January 30, 2019                 Signature: /s/ Michelle Kovach
                                                                                                                      Michelle Kovach                                              Joint Debtor, if any
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Allied Interstate
PO Box 361445
Columbus, OH 43236-1445


Ally
PO Box 380902
Bloomington, MN    55438-0902


American Express Centurion Bank
4315 S 2700 W
Salt Lake City, UT 84184-0001


Andigo Credit Union
1501 E Woodfield Rd Ste 400W
Schaumburg, IL 60173-5419


AR Resources
PO Box 1056
Blue Bell, PA     19422-0287


ARS National Services
PO Box 463023
Escondido, CA 92046-3023


AT&T
PO Box 537104
Atlanta, GA 30353-7104
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Baptist Primary Care
PO Box 44004
Jacksonville, FL 32231-4004


Barclays Card Services
PO Box 8802
Wilmington, DE 19899-8802


Bartram Dental Center
130 Gateway Cir
Jacksonville, FL 32259-4003


Baycare
PO Box 31696
Tampa, FL 33631-3696


BCA Financial Services
18001 Old Cutler Rd Ste 462
Miami, FL 33157-6437


Bright House Networks
PO Box 9037
Addison, TX 75001-9037


Bull City Financial Solutions
2609 N Duke St Ste 500
Durham, NC 27704-0015
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Chase
PO Box 15298
Wilmington, DE   19850-5298


Chase Bank
PO Box 15548
Wilmington, DE   19886-5548


Cigna
PO Box 30028
Tampa, FL 33630-3028


Client Services Incorporated
3451 Harry S Truman Blvd
Saint Charles, MO 63301-4047


Credit Protection Associates
PO Box 802068
Dallas, TX 75380-2068


Duke Energy
PO Box 14042
Saint Petersburg, FL       33733


Emergency Resources Group
PO Box 11349
Daytona Beach, FL 32120-1349
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First City Hospitalists Group
PO Box 860069
Saint Augustine, FL 32086


Flagler Hospital
400 Health Park Blvd
Saint Augustine, FL 32086-5784


Florida Power & Light
1 General Mail Facility
Miami, FL 33101-0001


Franklin Collection Service
PO Box 3910
Tupelo, MS 38803-3910


Gastroenterology Associates
216 Southpark Cir E
Saint Augustine, FL 32086-5135


Helvey & Associates
1015 E Center St
Warsaw, IN 46580-3420


I.C. System
PO Box 64437
Saint Paul, MN   55164-0437
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L..J. Ross Associates
PO Box 6099
Jackson, MI 49204-6099


LTD Financial Service
7322 Southwest Fwy Ste 1600
Houston, TX 77074-2134


MBA Law
3400 Texoma Pkwy Ste 100
Sherman, TX 75090-1916


Mease Dunedin Hospital Processing Center
PO Box 22608
Tampa, FL 33622-2608


MRS Associates
1930 Olney Ave
Cherry Hill, NJ   08003-2016


Pantaleon Pathology Associates
PO Box 3123
Saint Augustine, FL 32085-3123


Paul Brertner, Esq,
The Barthet Firm
200 S Biscayne Blvd Ste 1800
Miami, FL 33131-5336
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Quest Diagnostics
PO Box 7306
Hollister, MO 65673-7306


Reemployment Assistance Program
PO Box 5150
Tallahassee, FL 32314-5150


Southwest Credit
4120 International Pkwy Ste 1100
Carrollton, TX 75007-1958


United Collection Bureau
4100 Horizons Dr Ste 101
Columbus, OH 43220-5283


Xfinity
141 NW 16th St
Pompano Beach, FL   33060-5250


Zwicker & Associates, PC
10751 Deerwood Park Blvd Ste 100
Jacksonville, FL 32256-4835
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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Edward Scott Kovach
 Debtor 2
 (Spouse, if filing)
                       Michelle Lynn Kovach                                                           1. There is no presumption of abuse
                                                                                                       2. The calculation to determine if a presumption of abuse
                                                  Middle District of Florida, Tampa
 United States Bankruptcy Court for the:                                                                     applies will be made underChapter 7 Means Test
                                                  Division
                                                                                                             Calculation (Official Form 122A-2).
 Case number                                                                                           3. The Means Test does not apply now because of qualified
 (if known)                                                                                                  military service but it could apply later.
                                                                                                        Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
        Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
          Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
          Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
                  apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
    own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                 Column B
                                                                                                        Debtor 1                 Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                      $                 2,782.29        $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                    $                       0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Include regular contributions from a spouse only if Column B is not filled in.
     Do not include payments you listed on line .3                                             $                       0.00      $               0.00
  5. Net income from operating a business, profession, or farm
                                                   Debtor 1             Debtor 2
     Gross receipts (before all
     deductions)                     $                0.00 $           3,994.25
     Ordinary and necessary
     operating expenses             -$                0.00 -$         -1,725.07
     Net monthly income from a                                                    Copy
     business, profession, or farm   $                0.00 $           2,269.18 here -> $                              0.00      $         2,269.18
  6. Net income from rental and other real property
                                                                                  Debtor 1
        Gross receipts (before all deductions)                            $    0.00
        Ordinary and necessary operating expenses                        -$    0.00
        Net monthly income from rental or other real property            $     0.00 Copy here -> $                     0.00      $               0.00
                                                                                                        $              0.00      $               0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 1
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 Debtor 1
 Debtor 2     Kovach, Edward Scott & Kovach, Michelle Lynn                                                Case number (if known)



                                                                                                      Column A                      Column B
                                                                                                      Debtor 1                      Debtor 2 or
                                                                                                                                    non-filing spouse
  8. Unemployment compensation                                                                        $                 0.00        $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under the
       Social Security Act. Instead, list it here:
            For you                                                   $                   0.00
            For your spouse                                           $                   0.00
  9. Pension or retirement income. Do not include any amount received that was a benefit
      under the Social Security Act.                                                             $                      0.00        $           0.00
  10. Income from all other sources not listed above. Specify the source and amount. Do
      not include any benefits received under the Social Security Act or payments received as
      a victim of a war crime, a crime against humanity, or international or domestic terrorism.
      If necessary, list other sources on a separate page and put the total below.
              .                                                                                  $                      0.00        $           0.00
                                                                                                      $                 0.00        $           0.00
                  Total amounts from separate pages, if any.                                     +    $                 0.00        $           0.00
  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $       2,782.29          +   $       2,269.18    =    $      5,051.47

                                                                                                                                                    Total current monthly
                                                                                                                                                    income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:

       12a. Copy your total current monthly income from line 11                                                 Copy line 11 here=>             $          5,051.47

              Multiply by 12 (the number of months in a year)                                                                                        x 12
       12b. The result is your annual income for this part of the form                                                                    12b. $         60,617.64

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                    FL

       Fill in the number of people in your household.                         3
       Fill in the median family income for your state and size of household.                                                    13.            $        65,278.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions for this
                                                                   ’
       form. This list may also be available at the bankruptcy clerk
                                                                   s office.

  14. How do the lines compare?
       14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1,
                                                                                                 There is no presumption of abuse.
                      Go to Part 3.
       14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Edward Kovach                                                       X /s/ Michelle Kovach
                Edward Scott Kovach                                                        Michelle Lynn Kovach
                Signature of Debtor 1                                                      Signature of Debtor 2
        Date January 30, 2019                                                       Date January 30, 2019
             MM / DD / YYYY                                                              MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                     page 2
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      Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “ incurred by an individual                                                   $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions
                                                                                          exist for particular debts, and liens on property may
        Chapter 7 - Liquidation                                                           still be enforced after discharge. For example, a
                                                                                          creditor may have the right to foreclose a home
        Chapter 11 - Reorganization                                                       mortgage or repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                    page 1

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you
 have enough income to repay creditors a certain                                          Exemptions are not automatic. To exempt property,
 amount. You must file Chapter 7 Statement of Your                                        you must list it on Schedule C: The Property You Claim
 Current Monthly Income (Official Form 122A –1) if you                                    as Exempt (Official Form 106C). If you do not list the
 are an individual filing for bankruptcy under chapter 7.                                 property, the trustee may sell it and pay all of the
 This form will determine your current monthly income                                     proceeds to your creditors.
 and compare whether your income is more than the
 median income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A –2). The calculations
                                                                                                      $1,717    total fee
 on the form— sometimes called the Means
 Test—deduct from your income living expenses and
                                                                                          Chapter 11 is often used for reorganizing a business,
 payments on certain debts to determine any amount
                                                                                          but is also available to individuals. The provisions of
 available to pay unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2

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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a
             mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
             and following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
             to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that
 and fishermen to repay their debts over a period of time                                 are not discharged and that you may still be
 using future earnings and to discharge some debts that                                   responsible to pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3

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                                                                                          A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                            together—called a joint case. If you file a joint case
                                                                                          and each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information
 within the deadlines set by the Bankruptcy Code, the                                     Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you
        of perjury—either orally or in writing—in                                         generally must complete a financial management
        connection with a bankruptcy case, you may be                                     instructional course before you can receive a
        fined, imprisoned, or both.                                                       discharge. If you are filing a joint case, both spouses
                                                                                          must complete the course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4

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                                                                   B201B (Form 201B) (12/09)Case   8:19-bk-00935-RCT             Doc 1       Filed 02/01/19          Page 67 of 67
                                                                                                                  United States Bankruptcy Court
                                                                                                              Middle District of Florida, Tampa Division

                                                                   IN RE:                                                                                           Case No.
                                                                   Kovach, Edward Scott & Kovach, Michelle Lynn                                                     Chapter 7
                                                                                                              Debtor(s)

                                                                                                   CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                       UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                    Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                   notice, as required by § 342(b) of the Bankruptcy Code.


                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer                                 Social Security number (If the bankruptcy
                                                                   Address:                                                                                        petition preparer is not an individual, state
                                                                                                                                                                   the Social Security number of the officer,
                                                                                                                                                                   principal, responsible person, or partner of
                                                                                                                                                                   the bankruptcy petition preparer.)
                                                                                                                                                                   (Required by 11 U.S.C. § 110.)
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                                                                   X
                                                                   Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                   partner whose Social Security number is provided above.

                                                                                                                          Certificate of the Debtor

                                                                   I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                   Kovach, Edward Scott & Kovach, Michelle Lynn                           X /s/ Edward Kovach                                         1/30/2019
                                                                   Printed Name(s) of Debtor(s)                                              Signature of Debtor                                           Date


                                                                   Case No. (if known)                                                    X /s/ Michelle Kovach                                       1/30/2019
                                                                                                                                             Signature of Joint Debtor (if any)                            Date


                                                                   Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                   Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                   NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                   attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                   page 3 of Form B1 also include this certification.
